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lN THE UN|TED STATES D|STR|CT COURT

FOR THE D|STR|CT OF COLUMB|A

Rodney Lail, et al., ) C/A No. 01 :10~CV 00210 PLF
Plaintift, §
vs § MOT|ON TO D|SMlSS
United States, et al., §
Defendant §

 

YOU VV|LL PLEASE TAKE NOT|CE THAT, pursuant to Rule 12(b)(2) and Ru|e 12(b)(3)
of the Federa/ Ru/es of C/v// Procedure, Defendant E G|enn Elliott, individually and in his official
capacity With the Aiken Bridges law firm, proceeding pro se moves for an Order dismissing this
action on the bases that (1) this Defendant is not subject to the personal jurisdiction of this Court
and (2) venue is improper This Defendant is entitled to granting of his l\/lotion to Dismiss for the

reasons stated in the attached l\/lernorandum of l_aw in Support of the l\/lotion to Dismiss

 

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Florence, South Carolina
August 16, 2010

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|N THE UN|TED STATES D|STR|CT COURT
FOR THE D|STR|CT OF COLUMB|A

Rodney Lai|, et a|., ) C/A No. 01;10-CV 00210 PLF
)
P|aintiff, )
) MEMORANDUM
vs ) OF LAW |N SUPPORT OF
) THE MOT|ON TO D|SM|SS
United States, et al , )
)
Defendant. )
)

 

Pursuant to LCvR 7(a) of the Local Rules for the United States District Court for the
District of Columbia, Defendant E. G|enn Elliott, individually and in his official capacity with the
Ail<en Bridges law firm, proceeding pro se files this l\/|emorandum of Law in support of his
l\/lotion to Dismiss on the bases that (1) this Defendant is not subject to the personal jurisdiction
of this Court and (2) venue is improper

l. STATEMENT OF FACTS

Ten (10) pro se P|aintiffs have filed a Second Amended Complaint (ECF Docket Entry
#12) against forty (40) named Defendants alleging causes of action for: (1) violations of the
Federal Tort Claims Act; (2) |ndividual B/`vens and Conspiracy; (3) violations of the Plaintiffs’ civil
rights under 42 U S.C. §§ 1981, 1983 and 1985; (4) violations of the Racketeer influenced and
Corrupt Organizations Act; (5) violations of the South Caro|ina Tort Claims Act; (6) infliction of
emotional distress; (7) South Carolina civil conspiracy; and (8) vicarious liability 1 The Second
Amended Complaint, which was filed on July 1, 2010l is 105 pages long and very difficult to

comprehend making a concise statement of the facts difficult to set forth

 

1 P|aintiffs James Spencer, Rodney Keith Lail, irene Santacroce, Ricky Stephens, l\/larguerite Stephens,
Doris Holt and Nicholas C VVilliamson filed a Complaint in the United States District Court for the District
of South Carolina, Florence Division on l\/lay 29, 2002 (Case No 4 02-cv-0859-RBH) alleging causes of
action for (1) civil conspiracy (2) violations of the Plaintiffs` civil rights under 42 U S C § 1893, (3)
violations of the Racl<eteer influenced and Corrupt Organizations Act, (4) false imprisonment and arrest,
(5) malicious prosecution and abuse of process, (6) assault and battery, (7) intentional infliction of
emotional distress, (8) tortious interference with contract, (9) libei and slander, (10) wrongful discharge
and retaliation, and (11) conversion The lawsuit filed in 2002 arose out of the same alleged conspiracy in
2000 to take over Southern Holdings that gave rise to the present lawsuit ECF indicates the 2002 lawsuit
was terminated on l\/lay 9, 2007

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Accordinq to the Second Amended Complaint:

Plaintiffs James Spencer and Doris Ho|t allege that they were forced to abandon their
horne in North Carolina in late 1998 because they were receiving death and physical threats
The identity of the persons making the threats is not given in the Complaint, nor is the reason
that these threats were being made.

The wrongdoing alleged in the Second Amended Complaint appears to have begun
sometime in 2000, when Plaintiff James Spencer was the CEO of Southern Holdings Southern
Holdings was a holding company involved in business development and restructuring of
companies Plaintiffs allege that Ancil Garvin, David Smith, Vivian Nichols and Pamela Smith
conspired to take over control of Southern Holdings and remove Plaintiff Spencer from his
position as CEO because Garvin and Smith were opposed to the sale of a subsidiary offshore
corporation

The conspiracy is alleged to have continued for years and allegedly resulted in threats to
the security of the Plaintiffs and their families if they did not assist with the takeover ot Southern
Holdings, harassment of the Plaintiffs and their families, the illegal searching of the P|aintiffs
homes in South Carolina, the issuance of an illegal warrant for Plaintiff James Spencer’s arrest
and papen/vork for his extradition from South Carolina to North Carolina, and improper conduct
by law enforcement agencies who allegedly were not responsive to the Piaintiffs’ claims of
wrongdoing by the conspirators

Plaintiffs allege that the conspiracy expanded and grew when it became known that they
intended to file a federal and state tort claims action Persons and organizations named in the
continuing conspiracy included at least the District Attorney's office in Gui|ford County North
Carolina, law enforcement agencies in North Carolina and South Carolina, law enforcement
officials in North Carolina and South Carolina, the South Carolina Department of Socia|
Services, Palmetto Health A|liance in South Carolina, private attorneys in South Carolina,

UniHealth Post Acute Care of Co|umbia, South Carolina, and the Federal Bureau of

f\.)

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investigation The overwhelming majority of the alleged acts in the Second Amended Complaint
are alleged to have occurred in South Carolina.

This Defendant's only connection to the Plaintiffs is his involvement as one of Several
defense counsel in the case of Southern Holdinqs, lnc_ v. Horry County, Civil Action No. 4:02-
1859-RBH, which was litigated in the District of South Carolina. This Defendant has no
connection with the District of Columbia. He does not reside and has never resided in the
District of Columbia He is not a member of the District of Columbia Bar, he does not own
property in the District of Columbia He does not conduct any business in the District of
Columbia or represent any clients in the District of Columbia |-iis principal place of business has
been and remains in Florence, South Carolina. He is a member in good standing with the South
Carolina Bar

||. ARGUMENT

a. The United States District Court for the District of Columbia does not have personal
jurisdiction over this Defendant

This Defendant has moved to dismiss this lawsuit pursuant to Rule 12(b)(2) of the
Federal Ruies of Civil Procedure because this Court does not have personal jurisdiction over
them Plaintiffs have the burden of making a prima facie showing that the Court has personal
jurisdiction over a defendant See Davis v Grant Park Nursinq Home LP, 639 F.Supp.2d 60
(D D C 2009) To meet this burden, P|aintiffs “must allege specific facts on which personal
jurisdiction can be based, [they] cannot rely on conclusory allegations ” Walton v. Bureau of
M, 533 F Supp.2d 107, 112 (D.D.C.2008). Plaintiffs have failed to allege the necessary
facts

“To establish personal jurisdiction over a non~resident, a court must engage in a two-part
inquiry. A court must first examine whether jurisdiction is applicable under the state’s long arm

statute and then determine whether a finding of jurisdiction satisfies the constitutional

i_,)

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requirements of due process " GTE New l\/ledia Servicesl inc_ v Be|lsouth Corp, 199 F 3d
1343, 1347, 339 U S App. C.C. 332, 336 (Ct App. 2000)
The District of Columbia’s long arm statute is D.C. Code Ann. § 13-423(a)(1981), which
provides in pertinent part;
(a) A District of Columbia court may exercise personal jurisdiction
over a person, who acts directly or by an agent, as to a claim for
relief arising from the person’s - -

(1) transacting any business in the District of Columbia;

(3) causing tortious injury in the District of Columbia by an act or
omission in the District of Columbia;

(4) causing tortious injury in the District of Columbia by an act or

omission outside the District of Columbia if he regularly does or

solicits business engages in any other persistent course of

conduct, or derives substantial revenue from goods used or

consumed, or services rendered, in the District of Columbia.
D.C. Code Ann. § 13-423(3)(1981).

To show that the exercise of personal jurisdiction is within the permissible bounds of the

Due Process Ciause "...a plaintiff must show ‘minimum contacts’ between the defendant and
the forum establishing that ‘the maintenance of the suit does not offend traditional notions of fair

play and substantial justice.”’ GTE New l\/iedia Servicesl lnc. v. Be|lsouth Corp., supra, citing

international Shoe Co. v Washinqton, 326 U.S. 310, 316 (1945). “Under the ‘minimum contacts'

 

standard, courts must ensure that ‘the defendant’s conduct and connection with the forum State
are such that he should reasonably anticipate being haled into court there id , citing World-

Wide Volkswaqen Corp v Woodson, 444 U.S. 286 (1980)

 

The District of Columbia’s long arm statute does not reach this Defendant There are no
allegations in the Second Amended Complaint that this Defendant transacted any business in
the District of Columbia or that they caused any tortious injury in the District of Columbia by an
act or omission in or outside of the District of Columbia. Even if the Court determines that this

Defendant did cause tortious injury in the District of Columbia by an act or omission outside the

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District of Columbia7 the long arm statute still does not reach this Defendant because he does
not regularly conduct or solicit business in the District of Columbia, he does not engage in any
other persistent course of conduct in the District of Columbia, and he does not derive substantial
revenue from goods used or consumed or services rendered, in the District of Columbia This
Defendant does not have the “minimum contacts” with the District of Columbia that would cause
him to be subject to the personal jurisdiction of this Court. Furthermore, this Defendant does not
have any connection with the District of Columbia such that he should reasonably anticipate
being haled into court in the District of Columbia. The United States District Court for the District
of Columbia does not have personal jurisdiction of this Defendant and this lawsuit should be
dismissed pursuant to Ru|e 12(b)(2) of the Federal Rules of Civil Procedure for lack of personal
jurisdiction
b. Venue is not proper in the United States District Court for the District of Columbia
This Defendant has moved to dismiss this lawsuit pursuant to Rule 12(b)(3) of the
Federal Rules of Civil Procedure because venue is not proper in this Court_ Plaintiffs have the

burden ot establishing that venue is proper See Vaukus v U.S 691 F Supp 2d 119 (D D.C‘

 

2010)

The Second Amended Complaint does not allege jurisdiction founded solely on diversity
of citizenship it alleges federal question jurisdiction based on the Defendants’ violations of the
Federal Tort Claims Act, a B/`veris action, violations of the Plaintiffs’ civil rights under 42 U.S C
§§ 1981, 1983 and 1985 and violations of the Racketeer influenced and Corrupt Organizations
Act, as weil as South Carolina state law claims Consequently, the applicable federal venue
provisions can be found at 28 U S_C § 1391(b) ofthe United States Code which states

A civil action wherein jurisdiction is not founded solely on diversity
of citizenship may, except as otherwise provided by iaw, be
brought only in (1) a judicial district where any defendant resides,
if all defendants reside in the same state, (2) a judicial district in
which a substantial part of the events or omission giving rise to the

claim occurred, or a substantial part of property that is the subject
of the action is situated, or (3) a judicial district in which any

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defendant may be found, if there is no district in which the action
may othen/vise be brought

28 U S.C. § 1391(b). Aii of the Defendants in this lawsuit do not reside in the same state, so §
1391(b)(1) is inapplicable There is a district in which this lawsuit may be brought, so §
1391(b)(3) is inapplicable The overwhelming majority of the alleged acts in the Second
Amended Complaint are alleged to have occurred in South Carolina (See Second Amended
Complaint1 qeneraliy; ECF Docket Entry #12), so § 1391(b)(2) is the applicable subsection

South Carolina is not only the appropriate district under the venue statutes, but it is also
the most appropriate and judicially efficient forum for the handling of this case. A|most all of the
evidence and witnesses for this lawsuit will be located in South Carolina. Six (6) of the Piaintiffs
live in South Carolina (ld. at 3-8) and at least twenty six (26) of the Defendants are South
Carolina state agencies, South Carolina companies or individuals living in South Carolina. (kd._at
]|] 11-51).

Cieariy, the United States District Court for the District of South Carolina is the proper
venue for this lawsuit, and this lawsuit should be dismissed pursuant to Rule 12(b)(3) of the
Federal Rules of Civil Procedure for improper venue

CONCLUS|ON

Based upon the facts alleged in the Second Amended Complaint and the arguments set

forth above, Defendant E. Gienn Eliiott, individually and in his official capacity with the Aiken

Bridges law firm, respectfully requests that the Court grant his i\/lotion to Dismiss.

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Fiorence, South Carolina
August 16, 2010

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF C()LUMBIA

Rodney Lail, el al.,
Civil Action No. l:2010-00210-PLF
Plaintit`fs,

v.
AFFIDAVIT OF
United States, el al., E. GLENN ELLIOTT

Defendants

V\/\/\_/\_/\./\./\/\/\./

 

PERS()NALLY APPEARED BEFORE ME, E. GLENN ELLIOTT, who being duly sworn,
deposes and states:

l. l am a Defendant in the above-captioned lawsuit

2. l have been licensed to practice law in the State of South Carolina since 1986. I
am a 1986 graduate of the University of South Carolina School of Law. I am a member in good
standing of the South Carolina Bar, I practice With the law firm ol` Aiken, Bridges_ Elliott, Tylcr
& Saleeby, P.A.

3. I do not reside nor have l ever resided in the District of Columbia l am not a
member ot` the District of Columbia Bar. l do not own personal or real property in the District of
Columbia. I do not conduct any business in the District of Columbia or represent any clients in
the District of Columbia. Since graduating from law school and becoming a practicing attorney,

my principal place of business has been in Florence, South Carolina.

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4. My only connection to the Plaintiffs is rny involvement as one of several defense
counsel in the case of Southern Holdings, Inc. v. Horry Coumy, Civil Action No. 4:02-1859-
RBH, Which Was litigated in the District of South Carolina.

FURTHER, AFFIANT SAYETI‘I NOT.

 

SWORN TO BEFORE i\/lE 'l`HlS
l6th DAY OF AUGUST 20l0.

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NOTARY PUBUC FOR
S'I`/\.TE OF SOUTH CAROLINA

 

Commission E.\'pires: //[/ 7/ 2 ¢»/4

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|N THE UN|TED STATES D|STR|CT COURT
FOR THE D|STR|CT OF COLUMBIA
F\’Odney Lai|, et ai., C/A NO. 01.10-CV 00210 PLF

Plaintiff,

United States, et al.,

Defendant

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)
)
vs )
)
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)

 

ORDER

 

Upon consideration of the i\/lotlon to Dismiss filed by Defendant E Glenn E|liott
individually and in his official capacity with the Aiken Bridges law firm, and all other papers and
proceedings submitted in this matter, and for good cause shown

|T iS HEREBY ORDERED THAT the Second Amended Complaint is hereby
DiSi\/llSSED with prejudice as to E. Glenn E|liott, individually and in his official capacity with the
Aiken Bridges law firm.

lT |S SO ORDERED.

 

PAUL L FR|EDIV|AN
United States District Judge

August , 2010

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IN THE UNITED STATES DISTRICT COURT
F()R THE DISTRICT OF C()LUMBIA
Rodncy Lail, el cil.,
Civil Action No. 1:2010-00210-PLF
Plaintiffs,
v.
CERTIFICATE OF SERVICE

United States, el al. ,

Defendants

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'l`hc undersigned does hereby certify that service of the beiow listed documents in the
above-captioned matter was made upon the Pro Se Plaintit`t`s and all other known counsel ot` record
by placing copies in the United States Mail, first class postage prepaid, at the below listed addresses
clearly indicated on said envelopes this the 16th day of`August 2010, addressed as t`ollows:

1`i l\/lotion to Dismiss

2) Memorandum in Support of`l\/Iotion to Dismiss
3) Aftidavit oi`E. Glenn Elliott

4) Proposed ()rder

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1\/lr. James B. Spencer
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1\/1s. Marguerite Stephen:.
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